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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


    GOVERNMENT EMPLOYEES INSURANCE
    CO., GEICO INDEMNITY CO., GEICO
    GENERAL INSURANCE COMPANY, and
    GEICO CASUALTY CO.,

           Plaintiffs,                                       Case No.: 8:17-cv-02848-EAK-TGW
    v.

    PATH MEDICAL, LLC, PATH MEDICAL
    CENTER HOLDINGS, INC., 1-800-411-PAIN
    REFERRAL SERVICE, LLC, 1-800-411-I.P.
    HOLDINGS, LLC, 411 PAIN ADVERTISING
    GROUP, INC., ROBERT CASH LEWIN, D.C.,
    HARLEY LEWIN, RUSSELL PERMAUL,
    JOEL EARL MANION, D.C., LANDAU &
    ASSOCIATES, P.A., THE LAW OFFICES OF
    KANNER & PINTALUGA, P.A., TODD
    LANDAU,     HOWARD KANNER,       ERIC
    PINTALUGA, MICHAEL H. WILENSKY,
    M.D., DAVID A. CHEESMAN, D.O.,
    TIE QIAN, M.D., and RALPH G. MARINO,
    M.D.,

          Defendants.
    ________________________________________/

                            NOTICE OF SETTLEMENT BETWEEN
                         PLAINTIFFS AND REMAINING DEFENDANTS

           Pursuant to Local Rule 3.08, Plaintiffs, Government Employees Insurance Co.,

    GEICO Indemnity Co., GEICO General Insurance Company, and GEICO Casualty Co.

    (collectively “Plaintiffs”), inform the Court that they have reached an agreement in principle

    that will completely resolve this matter between Plaintiffs and all of the remaining

    Defendants in this case: Todd Landau; Landau & Associates, P.A.; The Law Offices of
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    Kanner & Pintaluga, P.A.; Howard Kanner; and Eric Pentaluga (the “Remaining

    Defendants”).

            Plaintiffs and the Remaining Defendants are presently preparing, finalizing, and

    executing formal settlement documents, and will file a stipulation of dismissal with prejudice

    as to all claims between them upon finalizing and executing the formal settlement

    documents. Plaintiffs and the Remaining Defendants anticipate finalizing the settlement and

    filing the stipulation of dismissal with prejudice as to all claims between them within thirty

    days.

                                                      Respectfully submitted,

                                                      /s/ Barry I. Levy
                                                      Barry I. Levy (admitted pro hac vice)
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                                                      Attorneys for Plaintiffs




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                                   CERTIFICATE OF SERVICE

           I certify that on April 19, 2019, I electronically filed the foregoing document with the

    Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to

    the counsel of record in this case.

                                                      John P. Marino
                                                      Attorney




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